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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY

UNITED STATES                  *
                               *
   v.                          *      CRIM. NO. 22-0045
                               *
MUHAMMAD NAVEED                *
                               *
                             *****
 ORDER REGARDING USE OF VIDEO CONFERENCING/TELECONFERENCING
            FOR FELONY PLEAS AND/OR SENTENCINGS

        In accordance with Standing Order 2020-06, this Court finds:

  ✔      That the Defendant (or the Juvenile) has consented to the use of video

teleconferencing/teleconferencing to conduct the proceeding(s) held today, after consultation

with counsel; and

  ✔      That the proceeding(s) to be held today cannot be further delayed without serious harm

to the interests of justice, for the following specific reasons:

See attachment.



Accordingly, the proceeding(s) held on this date may be conducted by:
   ✔      Video Teleconferencing

          Teleconferencing, because video teleconferencing is not reasonably available for the

following reason:

                  The Defendant (or the Juvenile) is detained at a facility lacking video

        teleconferencing capability.

                  Other:




Date:                                                                        May 24, 2022
                                                                   Honorable Freda L. Wolfson, Chief Judge
                                                                   United States District Judge
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The Court finds that the sentencing hearing to be held today cannot be further
delayed without serious harm to the interests of justice, for the following
reasons:
      1. To ensure that the Court is not overwhelmed by cases and
         proceedings at the conclusion of this period of emergency. Currently,
         District Judges in New Jersey handle a substantially larger docket of
         cases than Judges in other Districts in the United States. New
         criminal cases continue to be assigned by the Court during the
         emergency. If the Court cannot resolve matters by guilty plea and
         sentencing, the resulting backlog will overwhelm the Court’s ability to
         effectively function. The concern of such congestion and the
         particular harm that likely will be caused by delays in the processing
         of cases and matters in the future is particularly acute in this
         emergency, at least given that: (1) it is unknown when this emergency
         will subside and when the Court will be able to function at normal
         capacity (including, among other things, the empanelment of trial
         juries) and (2) this District’s pre-existing shortage of District Court
         Judges which already has challenged the Court’s ability to process
         and resolve cases.
      2. To permit the defendant to obtain a speedy resolution of her case
         through a timely sentencing to afford appropriate punishment and
         rehabilitation. The defendant has asked for this case to be resolved
         today by way of sentencing. The Court is expected to have a
         substantial backlog of cases on its docket at the conclusion of this
         period of emergency. At this time, the Court cannot accurately
         predict where the defendant’s case will be prioritized within that
         backlogged docket. As a result, the defendant’s interest in a speedy
         resolution of her case will be seriously harmed if the proceeding does
         not occur today.

      3. To permit the Government to obtain a resolution of the case so that
         the Government, already operating in a restricted capacity due to the
         emergency, may appropriately focus its resources on other, emerging
         criminal matters. The Government has asked for this case to be
         resolved today by a timely sentencing.
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   4. To permit resolution of the case prior to the end of the time afforded
      the Government to prosecute such case under the Speedy Trial Act,
      and therefore without presentment of this matter to the grand jury
      seeking the return of an indictment. The parties represented during
      the plea hearing that they jointly wish to resolve this matter pre-
      indictment and without presentment of this case to the grand jury
      seeking the return of an indictment.
